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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  EVANSVILLE DIVISION

 RICARDO TOWNSEND,                                   )
                                                     )
                              Petitioner,            )
                                                     )
                         v.                          )       No. 3:18-cv-00235-RLY-MPB
                                                     )
 J. R. BELL,                                         )
                                                     )
                              Respondent.            )

                                            JUDGMENT

        Petitioner Ricardo Townsend's petition for writ of habeas corpus pursuant to 28 U.S.C.

 § 2241 is GRANTED.

        The Judgment imposed by the United States District Court for the Southern District of Iowa

 in case number 3:08-cr-69-JAJ-SBJ is VACATED subject to resentencing. Petitioner Townsend

 shall remain in custody pending resentencing or further instructions from the sentencing court.

 Date: ________________
          11/03/2020


 Roger A.G. Sharpe, Clerk of Court
 By: __________________
      Deputy Clerk


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